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                                                                        1   MARK E. FERRARIO
                                                                            Nevada Bar No. 1625
                                                                        2   CHRISTOPHER R. MILTENBERGER
                                                                            Nevada Bar No. 10153
                                                                        3   GREENBERG TRAURIG, LLP
                                                                            3773 Howard Hughes Parkway
                                                                        4   Suite 400 North
                                                                            Las Vegas, Nevada 89169
                                                                        5   Telephone: (702) 792-3773
                                                                            Facsimile: (702) 792-9002
                                                                        6   Email: ferrariom@gtlaw.com
                                                                                    miltenbergerc@gtlaw.com
                                                                        7

                                                                        8   Gregory J. Casas (pro hac vice forthcoming)
                                                                            Texas Bar No. 455329
                                                                        9   GREENBERG TRAURIG LLP
                                                                            300 West 6th Street, Suite 2050
                                                                       10
                                                                            Austin, Texas 78701
                                                                       11   Telephone: 512.320.7238
                                                                            Facsimile: 512.320.7210
                                                                       12   Email: casasg@gtlaw.com
                         3773 Howard Hughes Parkway, Suite 400 North
GREENBERG TRAURIG, LLP




                                                                       13   Counsel for Defendants Switch, Ltd., et al.
                                 Telephone: (702) 792-3773
                                 Facsimile: (702) 792-9002
                                  Las Vegas, Nevada 89169




                                                                       14                                  UNITED STATES DISTRICT COURT
                                                                       15                                      DISTRICT OF NEVADA
                                                                       16    V5 TECHNOLOGIES, LLC, d/b/a                        Case No. 2:17-CV-02349-KJD-NJK
                                                                             COBALT DATA CENTERS
                                                                       17
                                                                                              Plaintiff,
                                                                       18                                                       DEFENDANTS’ EMERGENCY
                                                                             v.                                                 MOTION TO STAY DISCOVERY
                                                                       19
                                                                             SWITCH, LTD., a Nevada limited
                                                                       20    company; SWITCH BUSINESS
                                                                             SOLUTIONS, LLC, a Nevada limited
                                                                       21    liability company; SWITCH
                                                                             COMMUNICATIONS GROUP, LLC, a
                                                                       22    Nevada limited liability company;
                                                                             SWITCH, INC., a Nevada corporation,
                                                                       23
                                                                                              Defendants.
                                                                       24

                                                                       25           Pursuant to District of Nevada Local Rule 7-5(d) and Federal Rule of Civil Procedure
                                                                       26   26(c), Defendants Switch, Ltd., Switch Business Solutions, LLC, Switch Communications
                                                                       27   Group, LLC and Switch, Inc. (collectively, “Defendants”), by and through their counsel of
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                                                                        1   record, the law firm of Greenberg Traurig, hereby move the Court, on an emergency basis, to
                                                                        2   stay discovery in this action pending the Court’s ruling on the Defendants’ Motion to Dismiss.
                                                                        3   (ECF No. 26).
                                                                        4           This Emergency Motion to Stay Discovery (“Motion”) is made and based on the
                                                                        5   following memorandum of points and authorities, the papers and pleadings on file herein, the
                                                                        6   Declaration of Christopher R. Miltenberger (attached as Exhibit A), and any such oral argument
                                                                        7   as this Court may permit.
                                                                        8                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                                        9     I.    INTRODUCTION
                                                                       10           The instant lawsuit arises from Plaintiff’s erroneous claims that Defendants violated
                                                                       11   certain federal antitrust and related state laws. This despite Plaintiff’s admission that Plaintiff
                                                                       12   signed a settlement and release agreement related to these claims in 2013, wherein Plaintiff
                         3773 Howard Hughes Parkway, Suite 400 North
GREENBERG TRAURIG, LLP




                                                                       13   admitted to misappropriating Switch’s confidential information and breaching contracts with
                                 Telephone: (702) 792-3773
                                 Facsimile: (702) 792-9002
                                  Las Vegas, Nevada 89169




                                                                       14   Switch.
                                                                       15           In short, Plaintiff’s Complaint is baseless, and Plaintiff now seeks to engage in abusive
                                                                       16   and costly discovery. Defendants have raised significant, case-dispositive issues in a pending
                                                                       17   Motion to Dismiss, filed shortly before this Motion. Courts in this district and in the Ninth
                                                                       18   Circuit have often stayed discovery in similar contexts. Notably, the Supreme Court specifically
                                                                       19   recognized in Bell Atlantic v. Twombly the importance of allowing the court the opportunity to
                                                                       20   carefully examine complaints asserting antitrust claims prior to permitting inevitably expensive
                                                                       21   discovery. 550 U.S. 544, 558 (2007).
                                                                       22           Here, a stay is prudent because Defendants’ Motion to Dismiss, if granted, will be
                                                                       23   dispositive. Absent a stay, the parties will pursue potentially unnecessary costs contrary to the
                                                                       24   intent of the Federal Rules of Civil Procedure to further speedy and inexpensive resolution of
                                                                       25   disputes. In contrast, Plaintiff will suffer no harm from a stay, even if the Motion to Dismiss is
                                                                       26   denied. These circumstances warrant a stay of discovery pending resolution of the Motion.
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                                                                        1    II.    FACTUAL AND PROCEDURAL BACKGROUND
                                                                        2           To preserve judicial economy, Defendants will not spend the Court’s time by restating
                                                                        3   the facts addressed in the Motion to Dismiss. See ECF No. 26, pp. 5-7. As explained in this
                                                                        4   Motion, the parties entered into a settlement agreement in 2013 (the “Settlement Agreement”),
                                                                        5   releasing all claims brought in Plaintiff’s Complaint. Additionally, Plaintiff’s Complaint lacks
                                                                        6   any facts supporting claims of anticompetitive conduct or antitrust injury.
                                                                        7           On September 7, 2017, Plaintiff filed its Complaint. Pursuant to a stipulation entered into
                                                                        8   by the parties, Defendants timely filed a Motion to Dismiss on October 16, 2017. (ECF No. 26).
                                                                        9   During their Rule 26(f) conference the parties were unable to agree to stay discovery, thus
                                                                       10   making the instant motion necessary. Ex. A, Miltenberger Decl., ¶¶ 4-7. The Motion to Dismiss
                                                                       11   sets forth several alternative bases for dismissal, any one of which may be dispositive of the
                                                                       12   entirety of Plaintiffs’ Complaint. In light of these serious deficiencies, all of which may be
                         3773 Howard Hughes Parkway, Suite 400 North
GREENBERG TRAURIG, LLP




                                                                       13   resolved without the need of any discovery, a stay of discovery is warranted in these
                                 Telephone: (702) 792-3773
                                 Facsimile: (702) 792-9002
                                  Las Vegas, Nevada 89169




                                                                       14   circumstances.
                                                                       15   III.    LEGAL ARGUMENT
                                                                       16       A. Motions to Stay Discovery Pending Discovery Pending a Motion to Dismiss Are
                                                                                   Properly Granted When a Potentially Meritorious Motion to Dismiss Is Pending.
                                                                       17

                                                                       18           This Court should grant Defendants’ Motion to Stay as all the factors outlined by the
                                                                       19   courts weigh in favor of a stay. As indicated in 5035 Village Trust v. Durazo, “District courts
                                                                       20   have wide discretion in controlling discovery.” 2:15–cv–00747–GMN–NJK, 2016 WL 6246304,
                                                                       21   at *2 (D. Nev. Oct. 24, 2016), quoting Little v. City of Seattle, 863F.2d 681, 685 (9th Cir. 1988).

                                                                       22   In deciding whether to grant a motion to stay, FRCP 1 provides that the Rules shall be construed

                                                                       23   and administered to “secure the just, speedy, and inexpensive determination of every action..”

                                                                       24   See Id. at *2, citing Ministerio Roca Solida v. U.S. Dep’t of Fish & Wildlife, 288 F.R.D. 500,

                                                                       25   503 (D. Nev. 2013)) (internal quotation marks omitted). Accordingly, Courts grant motions to

                                                                       26   stay discovery to alleviate the burdens of discovery while potentially meritorious motions to

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                                                                        1   dismiss are pending.1
                                                                        2             Although stays of discovery are not automatically granted, this Court has stated that
                                                                        3   requests to stay discovery are appropriately granted when: (1) the pending motion is potentially
                                                                        4   dispositive of the entire case, or at least dispositive of the issue on which discovery is sought; (2)

                                                                        5   the pending potentially dispositive motion can be decided without additional discovery; and (3)

                                                                        6   after a “preliminary peek” at the merits of the dispositive motion, the Court is convinced that the

                                                                        7   plaintiff will be unable to sustain a claim for relief. See Coyne v. Station Casinos LLC, No. 2:16-

                                                                        8   cv-02950-JCM-NJK, 2017 U.S. Dist. LEXIS 33196, at *2 (D. Nev. Mar. 7, 2017), citing Kor

                                                                        9   Media Group, LLC v. Green, 294 F.R.D. 579, 581 (D. Nev. 2013).

                                                                       10             Courts also consider and weigh “the competing interests of the parties,” such as “‘the

                                                                       11   possible damage which may result from the granting of a stay, the hardship or inequity which a

                                                                       12   party may suffer in being required to go forward, and the orderly course of justice measured in
                         3773 Howard Hughes Parkway, Suite 400 North
GREENBERG TRAURIG, LLP




                                                                       13   terms of the simplifying or complicating of issues, proof, and questions of law which could be
                                 Telephone: (702) 792-3773
                                 Facsimile: (702) 792-9002
                                  Las Vegas, Nevada 89169




                                                                       14   expected to result from a stay.’” Puckett v. Schnog, No. 2:12–cv–01958–GMN–NJK, 2013 WL

                                                                       15   1874754, at *3 (D. Nev. May 3, 2013), quoting Lockyer v. Mirant Corp., 398 F.3d 1098, 1110

                                                                       16   (9th Cir. 2005)). Each of these factors weighs in favor of a stay under these circumstances.

                                                                       17         B. All Factors Weigh in Favor of a Stay of Discovery.

                                                                       18             Here, a stay of discovery is prudent because Defendants readily satisfy the three-prong

                                                                       19   test articulated above. First, there is no legitimate dispute that the Motion to Dismiss is

                                                                       20   potentially dispositive of the entire case. The Motion to Dismiss offers multiple grounds for

                                                                       21   dismissal of the case in its entirety. As this Court is aware, any of the reasons outlined in the

                                                                       22   Motion to Dismiss would cause the entire case to be dismissed. See generally Motion to Dismiss,

                                                                       23
                                                                            1
                                                                              See e.g., 5035 Village Trust, 2016 WL 6246304, at *3 (granting discovery stay where the pending motion “present[ed] a
                                                                       24   dispositive legal question that would resolve Plaintiff’s claims without the need for discovery”); Abrego v. U.S. Bank Nat’l Ass’n,
                                                                            No. 2:13–cv–01795–JCM–GWF, 2014 WL 374755, at **1-3 (D. Nev. Jan. 31, 2014) (granting discovery stay pending resolution
                                                                       25   of motion to dismiss); Segal v. Lefebvre, No. 2:13–cv–0511–JCM–NJK, 2013 WL 12130553, at *2 (D. Nev. Nov. 14, 2013)
                                                                            (granting stay because “it is more just to delay discovery to accomplish the inexpensive determination of the case than to speed
                                                                       26   the parties along in discovery while the dispositive motions are pending”); Kidneigh v. Tournament One Corp., 2:12–cv–02209–
                                                                            APG–CWH, 2013 WL 1855764, at *2 (D. Nev. May 1, 2013) (granting motion to stay discovery because “temporary stay of
                                                                       27   discovery will further the goals of judicial economy and control of the Court’s docket”).

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                                                                        1   ECF. No. 26.
                                                                        2             Second, Plaintiff’s release of all claims against Defendants in the March 2013 Settlement
                                                                        3   Agreement particularly justifies the granting of a stay of discovery. Plaintiff’s then-President,
                                                                        4   released claims against Switch and its affiliates for “unfair competition, antitrust… [and] tortious
                                                                        5   interference…” Ex. B, Settlement Agreement, § 4. Moreover, the Settlement Agreement
                                                                        6   expressly released any unknown claims. See id. Plaintiff cannot argue that it was not included in
                                                                        7   this waiver, as it was an express signatory to the Settlement Agreement itself. Id. at p. 4.
                                                                        8   Plaintiff’s present assertion of claims against Defendants, which it previously and expressly
                                                                        9   released, is grounds for dismissal of this instant case, and as such, Defendants have met the first
                                                                       10   prong of the test.2
                                                                       11             Intentional releases and waivers of known rights, such as to future claims, are recognized
                                                                       12   under Nevada law. See, e.g. Nevada Yellow Cab Corp. v. Eighth Jud. Dist. Ct., 123 Nev. 44, 152
                         3773 Howard Hughes Parkway, Suite 400 North
GREENBERG TRAURIG, LLP




                                                                       13   P.3d 737 (2007). Moreover, the construction and enforcement of settlement agreements are
                                 Telephone: (702) 792-3773
                                 Facsimile: (702) 792-9002
                                  Las Vegas, Nevada 89169




                                                                       14   subject to Nevada’s interpretations of contracts generally, which restricts interpretation of
                                                                       15   unambiguous releases to the four corners of the agreement itself. Jones v. McDaniel, 717 F.3d
                                                                       16   1062, 1067 (9th Cir. 1993); In re Amerco Derivative Litig., 127 Nev. 196, 211, 2562 P.3d 681,
                                                                       17   693 (Nev. 2011). At the motion to dismiss stage, courts are permitted to consider documents that
                                                                       18   are either attached to plaintiff’s complaint or upon which the plaintiff’s complaint necessarily
                                                                       19   relies, and whose authenticity is not in question. See Mitchell v. Cox, 2015 WL 871228, at *4 (D.
                                                                       20   Nev. 2015); Anderson v. Angelone, 86 F.3d 932, 934 (9th Cir. 1996). Whether Plaintiff’s claims
                                                                       21   are subject to the Settlement Agreement’s waiver provision can be decided on the basis of the
                                                                       22   Complaint and the Settlement Agreement itself. As such, the Court already is in possession of all
                                                                       23   of the necessary information to make a ruling on the Motion to Dismiss.
                                                                       24

                                                                       25
                                                                            2
                                                                              Each of the other grounds asserted in the Motion to Dismiss also equally justify the stay of discovery. As the Court will see
                                                                       26   when conducting its “preliminary peek” at the merits of those arguments, Plaintiff’s pleading deficiencies are numerous. Plaintiff
                                                                            failed to plead with specificity with respect to its conclusory allegations of “unlawful, anticompetitive practices.” Plaintiff also
                                                                       27   failed to plead predatory pricing.

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                                                                        1           Third, a “preliminary peek” at the merits of the Motion to Dismiss reveals that Plaintiff is
                                                                        2   unable to sustain a claim for relief. As a matter of law, Plaintiff cannot assert claims that it has
                                                                        3   already expressly waived and released. Plaintiff’s antitrust claims likewise fail as it does not
                                                                        4   properly plead critical, foundational facts to support such claims. In particular, Plaintiff has not
                                                                        5   pled any facts to support a claim of exclusive dealing contracts, as the parties it identifies
                                                                        6   ultimately chose to do business with Plaintiff. See Compl., ¶¶ 60-61 (ECF. No. 1). Similarly,
                                                                        7   Plaintiff was required to plead properly the relevant geographic market at issue. Newcal Indus.,
                                                                        8   Inc. v. Ikon Office Solution, 513 F.3d 1038, 1045 (9th Cir. 2010). The list of Plaintiff’s
                                                                        9   deficiencies goes on and is explained in detail in the pending Motion to Dismiss. Id. In short,
                                                                       10   a “preliminary peek” at the merits of the Motion to Dismiss reveals that Plaintiff cannot support
                                                                       11   its claims for numerous reasons. In light of the foregoing, Defendants have satisfied the three-
                                                                       12   prong test applicable in this situation and a stay of discovery is warranted.
                         3773 Howard Hughes Parkway, Suite 400 North
GREENBERG TRAURIG, LLP




                                                                       13           C. The Competing Interests of the Parties Weigh in Favor of a Stay.
                                 Telephone: (702) 792-3773
                                 Facsimile: (702) 792-9002
                                  Las Vegas, Nevada 89169




                                                                       14           Finally, an evaluation of the competing interests of the parties also weights in favor of
                                                                       15   staying discovery. Plaintiff will not be prejudiced by a short delay while the Court decides the
                                                                       16   Motion to Dismiss. In fact, Plaintiff, like Defendants, will save time and money by refraining
                                                                       17   from discovery at this juncture to allow the Court to rule on these threshold issues that will
                                                                       18   determine whether any claims can move forward at all, something that undeniably impacts the
                                                                       19   scope of discovery permitted in this case, if any at all.
                                                                       20           Defendants, on the other hand, would be greatly prejudiced by the commencement of
                                                                       21   discovery. It is well recognized that the costs of discovery in antitrust cases are often prohibitive.
                                                                       22   See Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738 (9th Cir. 1987); see also Bell
                                                                       23   Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007) (“[I]t is one thing to be cautions before
                                                                       24   dismissing an antitrust complaint in advance of discovery, but quite another to forget that
                                                                       25   proceeding to antitrust discovery can be expensive.”) (citation omitted). As such, a District Court
                                                                       26   must scrutinize the pleadings, especially in antitrust cases, so as to minimize the potential time
                                                                       27   and money spent when the plaintiff has no entitlement for relief. Twombly, 550 U.S. at 558.
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                                                                        2           Defendants should not be required to endure the excessive expense and invasive nature of
                                                                        3   discovery, particularly when to do so would negate one of the very purposes of the release-of-
                                                                        4   claims provision contained in Settlement Agreement, to which the parties expressly agreed. “The
                                                                        5   purpose of [Federal Rule of Civil Procedure] 12(b)(6) is to enable defendants to challenge the
                                                                        6   legal sufficiency of complaints without subjecting themselves to discovery.” Rutman Wine Co.,
                                                                        7   829 F.2d at 738 (emphasis added). Defendants should not be forced to conduct discovery for
                                                                        8   claims that should never have arisen, and for which Plaintiff cannot, properly plead. It makes
                                                                        9   little sense to incur the time and expense of discovery – both of the parties and for this Court –
                                                                       10   when the Motion to Dismiss is likely to dispose of all of Plaintiff’s claims.
                                                                       11   IV.     CONCLUSION
                                                                       12           In light of the foregoing, Defendants respectfully request that this Court enter an order
                         3773 Howard Hughes Parkway, Suite 400 North
GREENBERG TRAURIG, LLP




                                                                       13   staying discovery until such time as this Court enters an order on the Motion to Dismiss.
                                 Telephone: (702) 792-3773
                                 Facsimile: (702) 792-9002
                                  Las Vegas, Nevada 89169




                                                                       14           DATED this 20th day of October, 2017.
                                                                       15                                                 GREENBERG TRAURIG, LLP
                                                                       16                                                 /s/Mark E. Ferrario
                                                                                                                          MARK E. FERRARIO (SBN 1625)
                                                                       17                                                 CHRISTOPHER MILTENBERGER (SBN 10153)
                                                                                                                          3773 Howard Hughes Parkway, Suite 400 North
                                                                       18                                                 Las Vegas, Nevada 89169
                                                                       19                                                 GREGORY J. CASAS (pro hac vice forthcoming)
                                                                                                                          GREENBERG TRAURIG, LLP
                                                                       20                                                 300 West 6th Street, Suite 2050
                                                                                                                          Austin, Texas 78701
                                                                       21
                                                                                                                          SAMUEL CASTOR (SBN 11532)
                                                                       22                                                 ANNE-MARIE BIRK (SBN 12330)
                                                                                                                          SWITCH, LTD.
                                                                       23                                                 7135 S. Decatur Blvd.
                                                                                                                          Las Vegas, Nevada 89118
                                                                       24
                                                                                                                          Counsel for Defendants Switch, Ltd., et al
                                                                       25

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                                                                        1                                   CERTIFICATE OF SERVICE
                                                                        2           Pursuant to Fed. R. Civ. P. 5(b), I hereby certify that a copy of the foregoing Emergency
                                                                        3   Motion to Stay Discovery was filed electronically via the Court’s CM/ECF system. Notice of
                                                                        4   Filing will be served on all parties by operation of the Court’s CM/ECF system.
                                                                        5           Dated this 20th day of October, 2017.
                                                                        6
                                                                                                                        /s/ Andrea Lee Rosehill
                                                                        7                                           An employee of Greenberg Traurig, LLP

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                         3773 Howard Hughes Parkway, Suite 400 North
GREENBERG TRAURIG, LLP




                                                                       13
                                 Telephone: (702) 792-3773
                                 Facsimile: (702) 792-9002
                                  Las Vegas, Nevada 89169




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